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QAO 245B      (Rev. 12/03) Judgment in a Crtminal Case




                       SOUTHERN                                   District of                                  ILLINOIS

          U N I T E D STATES O F A M E R I C A                           JUDGMENT IN A CRIMINAL CASE
                              v.
                RANZY 0. ROBINSON
                                                                         Case Number: 05CR40011-001-JPG

                                                                         U S M Number:06658-025

                                                                         Judy Kuenneke
                                                                         Defendant's Attorney
                                                                                                                  -   n.

THE DEFENDANT:
@j
 pleaded guilty to count(s)          1 and 2 of the Indictment

   pleaded nolo contendere to count(s)
   which was accepted by the court.
0 was found guilty on count(s)
   after a plea of not guilty.
                                                                                                                                          w

The defendant is adjudicated guilty of these offenses:

Title & Section                    Nature of Offense
                                      ..
                                                                                                                      ..
                                                                                                             Offense Ended           Couoc
                                                                                                                                      . .,
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                                                       ~                            I S h n e of a
                                                             to ~krbibute50 G ~ ~ R or                        ~Wppo04                t    .   I.

                                   Mixture and Substance Containina Methamhetarnine



       The defendant is sentenced as provided i n pages 2 through               9        o f this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
U T h e defendant has been found not guilty on count(s)

0 Count(s)                                                 0 is    0 are dismissed on the motion of the United States.
         Ir 1s ordcrcd that thr. defcndanr must nuutj the i ' n w d >tales auorne) ior lhisdis~rict\r thin 30 da s o f m change oiname. reb~dcncc,
or mailing addrcssuntil dl tines, rcstilution. cosls. dnd spdcial dss<ssmc.msi n ~ p o b)d thisjuJgmem arc l'uil) paid: Iforderid to pa) resulutlon.
the defendam must norit) Ih: coun and ilnit:d \txes m o r n q          matcr~alchanges in e i m m n ~ cclriumstmce.,.

                                                                          8/25/2005
                                                                          Date o f lmmsition of Judgment




                                                                         J. Phil Gilbert, District Judge

                                                                              A'
                                                                          Name an Tttle o f Judge
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                      -
               Sheet 2 h p r i & m m t
                                                                                                          Judgment-Page    2of       9
DEFENDANT: RANZY 0 . ROBINSON
C A S E NUMBER: 05CR40011-001-JPG


                                                                 IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:
 1 0 8 months on Counts 1 a n d 2 of the Indictment. All Counts to run concurrent with e a c h other.




     d The court makes the following recommendations to the Bureau of Prisons:
 That the defendant b e placed in the Intensive Drug Treatment Program.




     d The defendant is remanded to the custody of the United States Marshal
           The defendant shall surrender to the United States Marshal for this district:

           0 at                                         0 a.m.          p.m.     on
           0     as notified by the United States Marshal.

           The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
                 before 2 p.m. on
                 as notified by the United States Marshal.
                 as notified by the Probation or Pretrial Services Office.


                                                                       RETURN
 1 have executed this judgment as follows:




           Defendant delivered on                                                             to

 a                                                       , with a certified copy of this judgment.



                                                                                                        UNITED STATES MARSHAL


                                                                               BY
                                                                                                     DEPUTY UNITED STATES MARSHAL
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              Sheet 3 -Supervised Release
                                                                                                           Judgment-Page   jof                  Y
 DEFENDANT: RANZY 0 . ROBINSON
 C A S E NUMBER: 05CR40011-001-JPG
                                                           SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term o f :
   5 years on Counts 1 and 2 of the Indictment. All Counts to run concurrent with e a c h other.



      The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
 custody of the Bureau of Prisons.
 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
 substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
 thereafter, as determined by the court.
        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
 @f The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
        The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
        student, as directed by the probation officer. (Check, if applicable.)
        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
     If this 'udgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule otJpayments sheet of this judgment.
      The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
 on the attached page.

                                            STANDARD CONDITIONS OF SUPERVISION
   1)      the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)      the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
           each month;
   3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4)      the defendant shall support his or her dependents and meet other family responsibilities;
   5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
   6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7)      the delindant shall rcirain from ~xccssi\cuse uialcohol and shall not pL.rih3.c. pt)rcr>.use. Jjrtrihute, or administer an)
           ;mtrolled ruhstmcc or an) puruphcrna11.trclatcrl I,, an! cmtn~llerlsuh+ncc\. c\:cpt as prcscr~hcdb) 3 physician,
   8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)      the defendant shall not associafe with any persons en aged in criminal activity and shall not associate with any person convicted of a
           felony, unless granted permiss~onto do so by the protation officer;
  LO)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
           contraband observed in plain view of the probation officer;
  11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           permission of the court; and
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           Sheet 3C -Supervised Release
                                                                                              Judgment-Page   4 of            9
DEFENDANT: RANZY 0. ROBINSON
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                                       SPECIAL CONDITIONS OF SUPERVISION
  The defendant shall pay any financial penalty that is imposed by this judgment and that remains unpaid at the
  commencement of the term of supervised release. The defendant shall pay the fine in installments of $25.00 or ten
  percent of his net monthly income, whichever is greater.

    The defendant shall provide the probation officer and the Financial Litigation Unit of the United States Attorney's Office
  with access to any requested financial information. The defendant is advised that the probation office may share financial
  information with the Financial Litigation Unit.

    The defendant shall apply all monies received from income tax refunds, lottery winnings, judgments, and/or any other
  anticipated or unexpected financial gains to the outstanding court-ordered financial obligation.~hedefendant shall
  immediately notify the probation officer of the receipt of any indicated monies.

    The defendant shall not incure new credit charges or open additional lines of credit without the approval of the probation
  officer.

    The defendant shall participate as directed and approved by the probation officer in treatment for narcotic addictio, drug
  dependence, or alcohol dependence, which includes urinalysis or other drug detection measures and which may require
  residence and/or participation in a residential treatment facility. Any participation will require complete abstinence from all
  alcoholic beverages. The defendant shall pay for the costs associated with substance abuse counseling and/or testing
  based on a co-pay sliding fee scale approved by the United States Probation Office. Co-pay shall never exceed the total
  costs of counseling.

    The defendant shall participate in a program of mental health treatment, as directed by the probation officer, until such
  time as the defendant is released from the program by the probation officer.

    The defendant shall submit his person, residence, real property, place of business, computer, or vehicle to a search.
  conducted by the United States Probation Officer, at a reasonable time and in a reasonable manner, based upon
  reasonable suspicion of contraband or evidence of a violation of a condition of supervision. Failure to submit to a search
  may be grounds for revocation. The defendant shall inform any other residents that the premises may be subject to a
  search pursuant to this condition.
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                                               CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                       Assessment                                                                              Restitution
 TOTALS             $ 200.00                                                                                 $ 0.00



     The determination of restitution is deferred until   -An Amended Judgment in a Criminal Case ( A 0 245C) will he entered
                                                                     ,

     after such determination.

     The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each pa ee shall receive an approximately ro ortioned ayment, unless specified otherwise in
     the priority order or percentage payment column)below. However, pursuant to 18 8 s . 8 . 5 366461, all nonfederal vlctims must be paid
     before the United States is pa~d.

 Name of Pavee                                                            Total*               Restitution Ordered      Prioritv or Percentage




 TOTALS                                                       0.00            $                       0.00


       Restitution amount ordered pursuant to plea agreement $

       The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. $3612(f). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. 8 3612(g).

       The court determined that the defendant does not have the ability to pay interest and it is ordered that:
      6 the interest requirement is waived for the 6 fine                     restitution.
            the interest requirement for the           fine          restitution is modified as follows:



 * Findings for the total amount of losses are required under Chapters 109A,110, 1IOA, and 1 13A of Title 18 for offenses commined on or after
 September 13, 1994, but before April 23, 1996.
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     -  -    (Rev 12/03>Judement in a Crlminal Case
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                                                                                                          J u d g m e n t Page 1of                9
 DEFENDANT: RANZY 0. ROBINSON
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                                                      SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

 A           Lump sum payment of $                            due immediately, balance due

                   not later than                                 , or
                   in accordance               C,       D,          E, or         F below; or

 B           Payment to begin immediately (may be combined with              C,          D, or        F below); 01

 C           Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                          (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

 D           Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                          (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
             term of supervision; or

 E           Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
             imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F           Special instructions regarding the payment of criminal monetary penalties:

              While on supervised release the defendant shall make monthly payments in the amount of $25.00 or ten percent
              of his net monthly income, whichever is greater.




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 The defendant shall receive credit for all payments previously made toward any criminal monetruy penalties imposed.



       Joint and Several

       Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
       and corresponding payee, if appropriate.




       The defendant shall pay the cost of prosecution.

       The defendant shall pay the following court cost(s):

       The defendant shall forfeit the defendant's interest in the following property to the United States:




 Paymenrs shall be applied in ,fie fol!owjng order: (1 assessment, (2) restitutiqn principal, (3) restitution interest, (4) fine principal,
 (5) fine mterest, (6) commun~iyrest~tut~on, (7) penalties, and (8) costs, mclud~ngcost of prosecut~onand court costs.
